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[11/20/22, 1:10:10 PM] Jerome Falic: Very loyal following.
Good to see you and dusty today.
Safe travels home.
[11/20/22, 1:10:58 PM] Kayla: Thanks for listening to me.
[11/20/22, 1:11:07 PM] Kayla: Enjoy your nap!
[11/20/22, 1:12:39 PM] Jerome Falic: Thank you. I woke up a few minutes ago.
[11/21/22, 9:31:17 AM] Jerome Falic: Hi Kayla. I think we should have a meeting you,
dusty ,me and Jon, face to face as well. Can we do it in NY on December 14th. We can
meet at like 12pm or 1pm in the city. I’ll set aside at least 2 or maybe 3 hours. I
think it will be productive so we are all on the same page.
[11/21/22, 9:51:30 AM] Kayla: That works for us. I agree it’s needed.
[11/21/22, 9:53:13 AM] Kayla: Sorry I missed your call I was filming content
[11/21/22, 8:04:34 PM] Kayla: For New York, where’s your hotel?
[11/22/22, 4:35:20 AM] Jerome Falic: It’s the baccarat hotel. The address is 28 W.
53rd street. We will meet in the 2nd floor.
[11/22/22, 7:14:42 AM] Kayla: Thanks!
[11/22/22, 7:14:50 AM] Kayla: image omitted
[11/22/22, 7:15:02 AM] Kayla: image omitted
[11/22/22, 7:15:09 AM] Kayla: image omitted
[11/22/22, 7:15:18 AM] Kayla: So this tells us we are targeting existing customers
[11/22/22, 7:15:23 AM] Kayla: Just in another platform.
[11/22/22, 7:16:02 AM] Kayla: This is from the kandy aholics group. I ran the orders
of all these customers and all have orders over 10 times
[11/22/22, 7:16:31 AM] Kayla: Just wanted to show you.
[11/22/22, 7:19:37 AM] Jerome Falic: Thanks. Yes but others as well.
[11/22/22, 7:20:01 AM] Kayla: Ok
[11/28/22, 9:16:54 AM] Kayla: Can you have a meeting me with via zoom this
afternoon?
[11/28/22, 10:47:42 AM] Jerome Falic: I’m at the airport boarding a flight to go
overseas. I can possibly have a call later tonight or if I don’t make it then
tomorrow at about 11 but not sure I can do a zoom.
[11/28/22, 10:51:49 AM] Kayla: Let me know when you’re available for a phone call.
[11/28/22, 11:10:48 AM] Jerome Falic: Will do. Will try tonight but it might be too
late.
[11/28/22, 11:11:50 AM] Kayla: I run the night shift here at the warehouse. I’ve
been at head kandy since 9 am and I work until 2am. I’ll be available.
[11/28/22, 11:19:08 PM] Kayla: image omitted
[11/29/22, 7:10:39 AM] Kayla: image omitted
[11/29/22, 2:44:07 PM] Jerome Falic: I didn’t forget about you. I’ve been in
meetings all day. I’ll call you shortly.
[11/29/22, 3:15:52 PM] Kayla: Ok. Thanks
[11/30/22, 6:29:27 PM] Kayla: Hi, are you available for a quick chat?
[11/30/22, 8:04:40 PM] Jerome Falic: I’m available now for a few minutes
[11/30/22, 8:04:47 PM] Jerome Falic: I can call you
[11/30/22, 8:39:38 PM] Kayla: Sorry I just saw this
[11/30/22, 8:39:50 PM] Kayla: If you’re available, it’s late I know
[11/30/22, 8:39:56 PM] Kayla: I’m sorry.
[11/30/22, 8:40:05 PM] Kayla: I just had a couple questions
[11/30/22, 9:14:21 PM] Kayla: Tomorrow is fine
[12/1/22, 3:48:50 AM] Jerome Falic: I’m traveling again today. I’ll try calling you.




                                   EXHIBIT 17                             KM0064
